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 1                    IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
 2       - - - - - - - - - - - - - - - x
         INDIAN RIVER COUNTY, et al.,
 3                                           CA No: 1:15-cv-00460-CRC
                       Plaintiffs,           CA No: 1:15-cv-00632-CRC
 4
                                                  Washington, D.C.
 5                                                Friday, July 6, 2015
         vs.                                      2:07 p.m.
 6
         PETER M. ROGOFF, et al.,
 7
                       Defendants.
 8       - - - - - - - - - - - - - - - x
         ____________________________________________________________
 9
                      TRANSCRIPT OF TELEPHONIC CONFERENCE
10              HELD BEFORE THE HONORABLE CHRISTOPHER R. COOPER
                          UNITED STATES DISTRICT JUDGE
11       ____________________________________________________________

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 1                                P R O C E E D I N G S

 2                    THE COURT:    Okay.   Good afternoon, everyone.

 3                    IN UNISON:    Good afternoon, Your Honor.

 4                    THE COURT:    I understand that we have quite a few

 5       people on.    The court reporter has your appearances so I'm

 6       not going to make you go around the room again, but I'll

 7       tell you what, who's going to be speaking on behalf of the

 8       various parties?     Let's start with the plaintiff.

 9                    MR. KARMEL:    Good afternoon, Your Honor.         This is

10       Philip Karmel, and I will be speaking on behalf of the

11       Indian River County plaintiffs.

12                    THE COURT:    Okay.

13                    MR. RYAN:    Your Honor, Stephen Ryan speaking for

14       the Martin County plaintiffs.

15                    THE COURT:    Okay.   How about the defendants?

16                    MR. HAJEK:    Good afternoon, Your Honor.        This is

17       Luke Hajek from the U.S. Department of Justice on behalf of

18       the federal defendants.

19                    MR. STEARNS:    Your Honor, Gene Stearns on behalf

20       of All Aboard Florida.

21                    THE COURT:    Okay.   It sounds like we have the same

22       line-up as from the hearing.       Why don't I just sort of set

23       the stage and then turn it over to you folks to discuss the

24       motions that you've filed.

25                    So obviously the case came to me on a complaint
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 1       and a PI motion.     There were no motions to dismiss, and no

 2       requests for jurisdictional discovery at the time that PI

 3       was filed.    I, of course, denied the PI motion based on the

 4       plaintiffs' failure to demonstrate standing, but as the

 5       plaintiffs have emphasized, both the redressability and

 6       traceability prongs of the standing inquiry turn in this

 7       case on a disputed question of fact, which is whether AAF

 8       would go forward with Phase II absent the bonds in question.

 9       I determined that the plaintiffs had not, at that stage, met

10       their burden to overcome the declaration of Mr. Reininger

11       based on the record that was before me.

12                    Now, I limited the opinion to standing in

13       deference to the D.C. Circuit and the Supreme Court's

14       instruction to always resolve constitutional standing before

15       reaching the merits or, in this case, reaching likelihood of

16       success on the merits.     But that approach can obviously lead

17       to inefficiencies, and one of them here is that if I let you

18       all go off and spend a lot of time and money taking

19       jurisdictional discovery and plaintiffs do, in fact,

20       establish standing, I still could decide that the plaintiffs

21       are not likely to succeed on the merits or, in fact, have

22       failed to state a claim because they've not alleged major

23       federal action requiring NEPA review.

24                    By no means am I prejudging that issue, but as my

25       questions at the hearing may have indicated, I think the
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 1       plaintiffs have an uphill battle on that issue given, first,

 2       the lack of case law holding that indirect tax benefits

 3       constitute or can constitute major federal action, and,

 4       second, even if a tax exemption could be considered major

 5       federal action, the case law on how big the federal benefit

 6       must be compared to the overall size of the project to

 7       constitute major federal action.

 8                  Now, of course, you would need me or the

 9       plaintiffs would need me to make that determination in order

10       to get to the Court of Appeals, but in the interest of full

11       disclosure, given, you know, the current posture of the

12       case, I thought it would be helpful to put that on the

13       record.

14                  So with that, I have read the materials on

15       jurisdictional discovery.     I have not had a chance to tear

16       into the motions to dismiss, although it seems to me that

17       they -- if we do proceed with jurisdictional discovery, they

18       can be held in abeyance until that process is complete.

19                  So why don't we hear from Indian River first with

20       respect to its request for jurisdictional discovery and any

21       other suggestions for how the case should proceed from this

22       point.

23                  MR. KARMEL:    Thank you, Your Honor.        Well, the

24       Court has really summarized the situation in a way that I

25       think tees up the issues.     I agree that the basis of the
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 1       Court's denial of the motion for a preliminary injunction

 2       turned on a disputed issue of fact relating to traceability

 3       and, even more so, redressability, and it's those issues

 4       that are the subject of our request to take jurisdictional

 5       discovery.

 6                    The All Aboard Florida declarant said that

 7       notwithstanding the massive benefits associated with the

 8       private activity bonds, All Aboard Florida would proceed

 9       even without them, and we're trying to take discovery on

10       that issue by better understanding the finances of the

11       project, how profitable the project would be without the

12       private activity bonds and whether the project would be

13       profitable at all, or, even if it would have some positive

14       profits, if it would be insufficiently profitable to warrant

15       the type of massive investment required for this project.

16       So all of our discovery requests are targeted at that set of

17       issues, and we'd like to proceed to try to obtain that

18       information to meet the burden of proof that was outlined in

19       the Court's decision.

20                    We also agree with respect to the motions to

21       dismiss; that they should be held in abeyance until we get

22       an opportunity to complete the jurisdictional discovery

23       under any parameters or schedule that the Court establishes

24       in granting our motion.

25                    THE COURT:   Okay.    Now, AAF has argued that in the
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 1       event jurisdictional discovery proceeds, your requests are

 2       nonetheless overly broad.

 3                  Mr. Stearns, do you want to address that?

 4                  MR. STEARNS:    Yes, Your Honor.         And I would start

 5       just with the procedural niceties --

 6                  THE COURT:    Yes.

 7                  MR. STEARNS:    -- which is, I would expect it would

 8       be a request to produce.     I'd kind of hoped that they would

 9       have done that after we filed our pleading because the Rules

10       of Civil Procedure do have a form that we follow, which is

11       they file a request, and we respond; and one of the elements

12       of that would be cooperation back and forth to try to narrow

13       it so we can meet both the short time frame as well as see

14       if we can identify those issues.       And instead, we

15       essentially started with a motion with 20 requests without

16       definitions or instructions, and so I do think they've

17       jumped the gun.

18                  If we get to the issue of discovery on the

19       standing, the jurisdictional issues, I think it is useful to

20       just have some broad understanding of where we are.

21                  This project is well underway, obviously.                They're

22       building it as we speak, the first phase, which is Miami to

23       Palm Beach.   What exists is a matrix, an Excel spreadsheet,

24       which is maintained continuously.        The latest iteration is

25       dated May 6th, and what that includes is both givens and
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 1       assumptions.   It started off a while ago with a lot more

 2       assumptions than presently exist, and as assumptions turn

 3       into hard numbers, then the assumption goes away, and the

 4       hard number appears.

 5                  What you have in that spreadsheet, in that

 6       analysis, economic analysis, is what drives the outcome.

 7       That is, you can plug in an interest rate, for example, and

 8       a time to pay it, and it can calculate at what point, based

 9       on other factors that are plugged into the matrix -- at what

10       point the project is slated to become cash flow positive,

11       which is what we saw in a declaration which was filed on the

12       29th, as well as at what point it becomes profitable.

13                  And what the business plan shows is if it -- a

14       higher interest rate is obligated or that's their end result

15       of losing the tax-exempt bonds, the time which it goes cash

16       flow positive is delayed, and the time at which it becomes

17       profitable is delayed, in each instance well within the

18       first ten years of the program.       Frankly, much sooner than

19       that.

20                  And so what you have is a company that's already

21       invested hundreds of millions to this venture, has committed

22       hundreds of millions more in capital, not to mention that

23       which it would be borrowing from purely private sources, but

24       I would dare say that that information will fairly quickly

25       dispose of any argument.     All Aboard Florida is not going to
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 1       dispose of the project regardless.

 2                   We've supplemented that with the -- actually we've

 3       indicated that that document exists.         We have supplemented

 4       it with two affidavits:      one from Mr. Reininger, but also

 5       one from one of the senior people at Fortress, who is

 6       directly involved and has been involved in the capital

 7       formation plan who obviously, based on his background and

 8       experience -- this is what he does, is raise money for

 9       ventures such as this.      And he has indicated what the

10       prospects are in the marketplace, which is that it is a

11       virtual certainty that this company will raise the money

12       either in tax-exempt financing or in traditional financing

13       accessing one or more of the many capital markets that exist

14       for a conventional financing, if that's necessary.

15                   So we've identified two witnesses for certain, and

16       we've certainly identified the mother lode of factual

17       information, which is the May 6th business plan matrix.

18                   THE COURT:   Okay.     So you've identified two

19       issues.    As to the second issue, why shouldn't the

20       plaintiffs have an opportunity to test the declarants that

21       you have put forth to establish that AAF would, in fact, go

22       forward?

23                   MR. STEARNS:    I can't -- you know, other than the

24       fact that it's an inconvenience and a bother to take this to

25       an obvious conclusion, I'm not going to argue with the
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 1       Court.   That's not unreasonable.

 2                   THE COURT:    Okay.    And the second issue for you,

 3       Mr. Karmel, is they argue that it's only the latest

 4       iteration of the pro forma that's relevant to AAF's current

 5       intent as to whether to go forward or not.           Why do you need

 6       all the information going back to, you know, 2014?

 7                   MR. KARMEL:    Well, I mean, if what Gene suggested

 8       is we simply get a spreadsheet and assume that all the

 9       numbers on the spreadsheet are accurate, you know, without

10       any ability to look at underlying correspondence and

11       documents, I think it really puts the plaintiffs at an

12       unfair disadvantage.      We're not seeking discovery, you know,

13       back to the dawn of time or anything like that.            We're

14       seeking relevant correspondence and reports and documents

15       that we specifically identified going back to, you know,

16       approximately the time that the application for the private

17       activity bonds were submitted to DOT.

18                   The application was submitted to DOT less than a

19       year ago so we've tried to have a targeted request.             If we

20       simply get a spreadsheet, it's going to have a series of

21       numbers in it, and we'll have no ability to identify the

22       source of those numbers, the reasonableness of those

23       numbers, whether the numbers bear any close resemblance to

24       the presumably similar spreadsheet that existed at the time

25       that the bond application was submitted less than a year ago
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 1       and really discover the truth.       And that's what we're trying

 2       to get at.

 3                    Now, in terms of the complaint that I haven't

 4       served discovery requests, if the Court thinks that's the

 5       appropriate procedure, obviously the plaintiffs will do

 6       that.   I didn't want to serve discovery requests without any

 7       permission from the Court because it would be premature.

 8                    THE COURT:    Okay.

 9                    MR. KARMEL:    But if the Court would establish

10       procedure requiring that requests be served, obviously we'll

11       comply with that.

12                    THE COURT:    Regardless of the format, I do think

13       it's important that you folks first try to get together and

14       see if you all can narrow some of the requests, and let's

15       figure out what we're really fighting over, and I suppose a

16       request under the rules is the best way to do that.

17                    I guess related to that issue is what is the

18       current timing?      And is there -- given the extension that I

19       understand was granted by the government for authorizing the

20       PABs, are we under any current timing pressure?

21                    MR. STEARNS:   Your Honor, I can speak to that.

22                    THE COURT:    Okay.

23                    MR. STEARNS:   Obviously time is critical because

24       there is a window now to sell the bonds.            And you can read

25       about Greece.     You can read about Puerto Rico.         Fortunately
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 1       those issues have probably been helpful in this environment

 2       because they have given investors the quality, and U.S.

 3       bonds are considered high.

 4                   So that hasn't hurt us from the standpoint of

 5       interest rate or whatever, but the markets are very helpful.

 6       There is a desire to sell.          I think we're looking at

 7       marketing bonds prior to the end of July.             We're working

 8       with -- the plaintiffs on the one hand are saying that the

 9       state process is just a slam dunk, and then on the other

10       they've got lawyers here working night and day to try to

11       delay it and get a negative outcome.           That goes to the issue

12       of obviously traceability, which is a different issue.

13                   As a practical matter, we don't have a hearing

14       date set, but we're anticipating -- nor do we have the

15       FEIS done yet.       We're anticipating those shortly, but to

16       have a -- I would say -- I think I can say fairly we're

17       anticipating being able to market the tax-exempt bonds

18       before the end of July.

19                   THE COURT:     Okay.

20                   MR. STEARNS:     If I may, Your Honor, just in terms

21       of the -- just the broad issue of discovery, the business

22       plan is going to show basically the cost of construction,

23       and those variables may become fixed.           For example, the cost

24       of building a station, once a contract is signed, that goes

25       from an assumption to a fixed number.           The ridership study,
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 1       which we have now produced, is the biggest driver of cash

 2       flow and income, and that obviously was just completed and

 3       made available to the plaintiffs, and you can see that in

 4       the matrix.    That's going to be the major assumption in

 5       terms of revenue.     And then the interest cost is simply

 6       plugging in numbers and then applying those variables.

 7                   And what you're going to see, by looking at the

 8       spreadsheet, is the assumptions are all identified.             As in

 9       any spreadsheet, you start off with the facts you know, and

10       then you go to the assumptions, but it's not that

11       complicated.

12                   I mean, obviously the project is $2.5 billion so

13       it's not insubstantial, and all the details that go in it

14       are substantial, but it's not that difficult for people that

15       are knowledgeable about such things to see fairly quickly

16       where this is going.

17                   THE COURT:   Okay.     Well, be that as it may, I do

18       think Mr. Karmel is correct that at least some context for

19       those projections in the form of, you know, correspondence

20       and obviously deposition testimony is in order.            I mean, you

21       know, it doesn't do him much good just to get the latest

22       version of a spreadsheet.

23                   Okay.    Well, why don't -- we'll issue an order

24       reflecting a schedule for a request for production of

25       documents, and you all narrow the issues, and to the extent
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 1       there are still disagreements as to the scope of the

 2       requests, let us know, and we can do another call.             Okay?

 3                    MR. STEARNS:   Your Honor, there's one thing of

 4       significance I do want to raise, if I may.           This is Gene

 5       Stearns.   This information -- this is a bond market, and

 6       we're in a very highly politicized environment here in

 7       Florida.   The Indian River people, you know, have obviously

 8       motivated county governments to bring these lawsuits.

 9                    THE COURT:    I believe someone is breathing into

10       the phone.    If you all could not do that.         I know these are

11       exciting issues.

12                    MR. STEARNS:   Your Honor, I think the issue is

13       going to be a standard confidentiality order where this

14       information -- this is extremely -- these are business

15       records that are very, very confidential.           The bond

16       markets -- you know, people are making business decisions,

17       and I think the number of people who have access to this

18       information we would be producing these to be limited, and

19       security needs to be established, I believe.           Otherwise,

20       mischief will be done.

21                    THE COURT:    Well, I'm confident that Mr. Karmel

22       and Mr. Ryan can accommodate those concerns.

23                    MR. KARMEL:    Yes.   We can enter into a protective

24       order of -- typical to these types of cases.           I indicated

25       that in my papers.     So, Mr. Stearns, I'm still working on
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 1       the discovery requests because I suspect that's what I'm

 2       going to be told to do, so why don't you send me the

 3       protective order in the form that you would prefer, and I'll

 4       take a look at it.

 5                   MR. RYAN:    This is Steve Ryan for Martin County.

 6       Can I just address a couple of issues?

 7                   THE COURT:   I was going to get to your request

 8       separately.

 9                   MR. RYAN:    Okay.

10                   THE COURT:   But to the extent you want to weigh in

11       on these issues, feel free.

12                   MR. RYAN:    Thanks, sir.

13                   I just was going to try to make it easier on all

14       of us.    The GAO has a usual model we use with protests that

15       we, it would seem to me, would be very amenable with.

16       Steptoe and Mr. Stearns and myself and Mr. Karmel could all

17       model off of the GAO protective order for this kind of a

18       case.    The bid protests area generates all of this exchange

19       of information, and to the extent we just use that existing

20       model, I think that might be very helpful for all parties

21       just because we can just pull it off the shelf.

22                   And then I'll come back and address my other

23       issues when the Court has a minute.

24                   THE COURT:   I will leave the form of the

25       protective order and confidentiality order to you folks to
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 1       decide.    Okay?

 2                   The Government, if I recall correctly, did not

 3       oppose Indian River's requests for discovery; is that

 4       correct?

 5                   MR. HAJEK:   We would defer to AAF's position on

 6       that.   We agree with their position.

 7                   THE COURT:   Okay.

 8                   Okay.    Mr. Ryan, Martin County.

 9                   MR. RYAN:    Yes, sir.   I just wanted to indicate,

10       first of all, that we join in the jurisdictional discovery

11       requests, Martin County.      We didn't plague the Court with

12       additional briefing on it, but that is as much ours as

13       Mr. Karmel's in that sense.

14                   THE COURT:   Okay.

15                   MR. RYAN:    And I want to emphasize, for example,

16       in Paragraph 20 of Mr. Karmel's request there is a very

17       simple category of documents, which is the communications

18       that AAF has made with Congress.        We'd like to see those as

19       well as the financial documents because we think those

20       communications may lay great emphasis on the necessity of

21       the app.

22                   So there are minor categories there.          I just want

23       to emphasize that we'll try to work it out.           We'll get back

24       with you if people are going to say that's not going to be a

25       possibility, but we'll leave it to that discussion.
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 1                   The second point that I wanted to raise with you

 2       is we had put in very limited discovery on the merits on the

 3       Title 23 issue, specifically poking at the defendants' claim

 4       that it spent money on the project, which we believe

 5       actually is not true and that they've only spent it on the

 6       rail corridor.       And we gave a very limited set of discovery

 7       on that, and, you know, I understand that that's --

 8                   THE COURT:     But it's also -- isn't it also purely

 9       a legal question?      I mean, isn't there a threshold legal

10       question as to whether funding for the corridor, so to

11       speak, qualifies under the statute, even if you're correct?

12                   MR. RYAN:     That's correct.

13                   THE COURT:     Okay.

14                   MR. RYAN:     But I guess it would be important for

15       the Court to know what is a fact.         In other words, is there

16       any money that's been spent on the AAF project?             Is it

17       solely on the corridor?

18                   If they want to do that as an admission, we could

19       perhaps get rid of all of the discovery; that none of it has

20       been spent on the AAF project, and it's been done that way.

21       But I would like some guidance from the Court on how to

22       handle that issue.      You know, perhaps the Department of

23       Transportation and Department of Justice can agree that

24       they'll stipulate to that effect so that they can make their

25       legal argument.
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 1                   THE COURT:    Mr. Hajek?

 2                   MR. HAJEK:    Yes, Your Honor.      Good afternoon.

 3                   THE COURT:    Good afternoon.

 4                   MR. HAJEK:    So I guess I would make three points.

 5       One Mr. Ryan has already gone over.         This is not a request

 6       for jurisdictional discovery.       It relates to a merits

 7       question that they have argued in the PI phase.            Standing is

 8       a jurisdictional question that's before the Court, and this

 9       Court may never get beyond standing so it may never be

10       necessary to reach this merits issue.

11                   The second, and I think most important, is that

12       this is an APA case.      It should be resolved based on the

13       agency's record, and plaintiffs have not even tried to meet

14       their burden of showing that there's been some bad faith on

15       the part of the Government or that the record is so bare

16       that it would prevent judicial review.          Now, of course, the

17       record hasn't been filed yet so that's another reason that

18       the Court could deny the motion as premature.

19                   The third --

20                   THE COURT:    On that point, will the plaintiffs be

21       opposing the Government's motion to dispense at this stage

22       with the filing of the record?

23                   MR. KARMEL:    Yes, sir.

24                   THE COURT:    Okay.    Mr. Hajek?

25                   MR. HAJEK:    Is there a follow-up question about
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 1       the record then?

 2                    THE COURT:   No.   I understand your argument.

 3                    MR. HAJEK:   Okay.

 4                    So I think there's a fundamental reason the motion

 5       should be denied, and that is that this is an APA case, and

 6       they haven't tried to show bad faith.

 7                    But also, as the Court kind of hinted at, the

 8       discovery that Martin County seeks is not necessary at all

 9       for the resolution of the case.         It relies on this

10       distinction, which isn't in the statute, between funds that

11       are spent for the project corridor versus the project, and

12       the Court can resolve that as a legal issue.            And if the

13       case were to go to the merits and the parties were to cite

14       portions of the record that they felt were appropriate on

15       this issue, if the Court still felt that this factual issue

16       were important, the appropriate thing to do -- for the Court

17       to do would be to remand it to the agency and not to allow

18       discovery.    So that's not a reason to grant their discovery

19       requests.

20                    THE COURT:   Okay.     Mr. Ryan, one last bite?

21                    MR. RYAN:    I'll just say I didn't hear any promise

22       that this would be in the administrative record if one was

23       ordered to be put forward.         If it were, then I would be

24       willing to defer the discovery request, this part of the

25       discovery request, if it was going to be in the
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 1       administrative record.

 2                   What I've heard is "I don't want to give an

 3       administrative record"; therefore, I can't get it that way.

 4       That's why we've asked for it in discovery.           I've asked even

 5       to take a stipulation.      I haven't heard any of that, and at

 6       the end of the day doesn't the Court want to know that

 7       there's some basis for the Government's theory?

 8                   And candidly, I don't believe a word of the

 9       Government's theory on this, and I tried to show why that

10       was the case during the PI, which the Court hasn't expressed

11       itself about.

12                   THE COURT:    Well, it seems to me that the

13       threshold question is whether anything turns on this

14       question, and if the Government is correct, that the statute

15       permits authorization upon or based on funding of the

16       corridor apart from funding of the specific project, then

17       nothing turns on the distinction.

18                   Now, I haven't -- I'm not prejudging that legal

19       question, but it seems to me there is a threshold legal

20       question to be determined.

21                   MR. RYAN:    There's a threshold fact issue.            If the

22       Government is going to concede that none of the money was

23       spent on the AAF project, that's fine.          I think that's what

24       I'm driving at.      As long as they're willing to stipulate

25       that all the money was spent on the corridor but not on the
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 1       AAF project, that's fine.

 2                   MR. HAJEK:   And, Your Honor -- this is Luke

 3       Hajek -- it's just the way the plaintiff is framing its

 4       argument.    We're not conceding at all that Section 130 funds

 5       weren't spent for the project.       They were spent for railways

 6       and highway crossings along the project corridor.             I don't

 7       think there's going to be any factual dispute about that

 8       being the case.

 9                   In our view, that is funding for the project.             In

10       the plaintiffs' view, it is not.        And so I think it is

11       largely a legal question.

12                   THE COURT:   Okay.

13                   Okay.    Anything else while we're here?

14                   MR. RYAN:    Your Honor, one last item for Martin

15       County.   I just wanted to raise that there's a separate

16       lawsuit, FOIA lawsuit, that was filed on June 19th.             The

17       Government's response is due on July 25th.           I was interested

18       in you asking or perhaps accepting the idea that we have an

19       early status conference in that case.

20                   And the reason is that the Government has

21       indicated that it collected all of the documents which had

22       been FOIA'd about the PAB issue, and that those documents

23       were ready for discussion in May.        Since those may overlap

24       with jurisdictional discovery that we've put in, and we're

25       entitled to it under the FOIA -- not Martin County, but CARE
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 1       that has filed that lawsuit -- it may be an easy way to

 2       solve some of these problems and get a few more facts on the

 3       table.   So if you could take a look at that?          We did file it

 4       as a related case, and it has come to you, is my

 5       understanding.

 6                   THE COURT:    Okay.    I will do that.     And you

 7       anticipate the discovery will overlap because some of the

 8       documents in the Government's possession originated with

 9       AAF?   Is that the idea?

10                   MR. RYAN:    It's both that they originated with AAF

11       or were communications within the Department of

12       Transportation about the documents from AAF, and both would

13       be related.

14                   But the important point is if they're all

15       collected, and they haven't been produced to us, it seems --

16       they were supposed to have been produced in May, the first

17       batch of documents.      So on a rolling basis, what I'd like to

18       do at the status conference is get an answer from the

19       Government of what they have in the volume that's ready to

20       be turned over, and to turn over as much of that material as

21       possible given that it was a January FOIA, and it does

22       overlap the discovery that Mr. Karmel and I have put in.

23                   THE COURT:    Okay.    We'll take a look at that.

24                   I take it, Mr. Hajek, you're not involved in the

25       defense of that FOIA case, correct?
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 1                   MR. HAJEK:   That's correct.       I've been trying to

 2       figure out who the agency person would be, but I have not.

 3                   THE COURT:   Okay.

 4                   MR. RYAN:    Thank you, Your Honor.       Nothing else.

 5                   THE COURT:   Okay.     Anyone else?

 6                   MR. HAJEK:   Not from the Government, Your Honor.

 7                   THE COURT:   Okay.     Well, you all have at least

 8       some of your marching orders, and we will get out a minute

 9       order that may have a few more specifics, but I think we see

10       the path forward.     Okay?

11                   MR. STEARNS:      Thank you, Your Honor.

12                   MR. RYAN:    Thanks, sir.

13                       (Whereupon the hearing was

14                        concluded at 2:37 p.m.)

15                    CERTIFICATE OF OFFICIAL COURT REPORTER

16                   I, LISA A. MOREIRA, RDR, CRR, do hereby certify

17       that the above and foregoing constitutes a true and accurate

18       transcript of my stenographic notes and is a full, true and

19       complete transcript of the proceedings to the best of my

20       ability.

21            Dated this 20th day of July, 2015.

22

23                                          /s/Lisa A. Moreira, RDR, CRR
                                            Official Court Reporter
24                                          United States Courthouse
                                            Room 6718
25                                          333 Constitution Avenue, NW
                                            Washington, DC 20001
